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  8                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9                           SOUTHERN DIVISION
 10
      SYMBOLOGY INNOVATIONS, LLC,                 CASE NO.: 8:20-cv-00073
 11
                         Plaintiff,
 12
                                                  COMPLAINT FOR PATENT
 13   v.                                          INFRINGEMENT
 14   HEALTHCARE SUCCESS, LLC,
                                                  JURY TRIAL DEMANDED
 15                      Defendant.
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                             COMPLAINT FOR PATENT INFRINGEMENT
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  1               ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT
  2          1.    Symbology Innovations, LLC (“Symbology” or “Plaintiff”), by and
  3   through its counsel, hereby brings this action for patent infringement against Healthcare
  4   Success, LLC (“Healthcare Success” or “Defendant”) alleging infringement of the
  5   following validly issued patent (the “Patent-in-Suit”): U.S. Patent No. 8,424,752, titled
  6   “System and method for presenting information about an object on a portable electronic
  7   device” (the “’752 Patent”), attached hereto as Exhibit A.
  8                                NATURE OF THE ACTION
  9          2.    This is an action for patent infringement arising under the United States
 10   Patent Act 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.
 11                                           PARTIES
 12          3.    Plaintiff Symbology Innovations, LLC is a Texas company with its
 13   principal place of business at 1400 Preston Road, Suite 400, Plano, TX 75093.
 14          4.    On information and belief, Defendant Healthcare Success, LLC is a
 15   company established in California and may be served through its registered agent Jeff
 16   R. Mancino at 2860 Michelle Dr, Ste. 230, Irvine, CA 92606.
 17                               JURISDICTION AND VENUE
 18          5.    This lawsuit is a civil action for patent infringement arising under the
 19   patent laws of the United States, 35 U.S.C. § 101 et seq. The Court has subject-matter
 20   jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.
 21          6.    The Court has personal jurisdiction over Defendant for the following
 22   reasons: (1) Defendant is present within or has minimum contacts within the State of
 23   California and the Central District of California; (2) Defendant has purposefully availed
 24   itself of the privileges of conducting business in the State of California and this district;
 25   (3) Defendant has sought protection and benefit from the laws of the State of California;
 26   and (4) Defendant regularly conducts business within the State of California and within
 27   this district, and Plaintiff’s cause of action arises directly from Defendant’s business
 28   contacts and other activities in the State of California and in this district.
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  1           7.    Defendant, directly and/or through intermediaries, ships, distributes, uses,
  2   offers for sale, sells, and/or advertises products and services in the United States, the
  3   State of California, and this district including but not limited to the products which
  4   contain the infringing ’752 Patent systems and methods as detailed below. Upon
  5   information and belief, Defendant has committed patent infringement in the State of
  6   California and in this district; Defendant solicits and has solicited customers in the State
  7   of California and in this district; and Defendant has paying customers that are residents
  8   of the State of California and this district and that use and have used Defendant’s
  9   products and services in the State of California and in this district.
 10           8.    Venue is proper in the Central District of California pursuant to 28 U.S.C.
 11   §§ 1400(b). Defendant is incorporated in this district, has transacted business in this
 12   district, and has directly and/or indirectly committed acts of patent infringement in this
 13   district.
 14                                      PATENT-IN-SUIT
 15           9.    The Patent-in-Suit teaches systems and methods for enabling a portable
 16   electronic device (e.g., smartphone) to retrieve information about an object when the
 17   object’s symbology (e.g. QR code) is detected.
 18           10.   The invention disclosed in the Patent-in-Suit discloses inventive concepts
 19   that represent significant improvements in the art and are not mere routine or
 20   conventional uses of computer components.
 21                                  ACCUSED PRODUCTS
 22           11.   Defendant makes, uses, offers for sale and sells in the U.S. products,
 23   systems, and/or services that infringe the Patent-in-Suit, including, but not limited to
 24   certain products and services implementing QR code functionality as described in the
 25   Patent-in-Suit (collectively, the “Accused Products”).
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  1                                         COUNT I
  2                        (Infringement of U.S. Patent No. 8,424,752)
  3          12.   Plaintiff incorporates by reference the allegations of paragraphs 1-11, the
  4   same as if set forth herein.
  5          13.   The ’752 Patent is valid, enforceable, and was duly and legally issued by
  6   the United States Patent and Trademark Office (“USPTO”) on April 23, 2013. The ’752
  7   Patent is presumed valid and enforceable. See 35 U.S.C. § 282.
  8          14.   Plaintiff is the owner by assignment of the ’752 Patent and possesses all
  9   rights of recovery under the ’752 Patent, including the exclusive right enforce the ’752
 10   Patent and pursue lawsuits against infringers.
 11          15.   Without a license or permission from Symbology, Defendant has infringed
 12   and continues to infringe on one or more claims of the ’752 Patent—directly,
 13   contributorily, and/or by inducement—by importing, making, using, offering for sale,
 14   or selling products and devices that embody the patented invention, including, without
 15   limitation, one or more of the patented ’752 systems and methods, in violation of 35
 16   U.S.C. § 271.
 17          Direct Infringement
 18          16.   Defendant has been and now is directly infringing by, among other things,
 19   practicing all of the steps of the ’752 Patent, for example, through internal testing,
 20   quality assurance, research and development, and troubleshooting. See Joy Techs., Inc.
 21   v. Flakt, Inc., 6 F.3d 770, 775 (Fed. Cir. 1993); see also 35 U.S.C. § 271 (2006). For
 22   instance, Defendant has directly infringed the Patent-in-Suit by testing, configuring,
 23   and troubleshooting the functionality of QR codes on its products and services.
 24          17.   By way of example, Defendant has infringed and continues to infringe at
 25   least one or more claims of the ’752 Patent, including at least Claim 1. Attached hereto
 26   as Exhibit B is an exemplary claim chart detailing representative infringement of claim
 27   1 of the Patent-in-Suit.
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  1          Induced Infringement
  2          18.   Defendant has been and now is indirectly infringing by way of inducing
  3   infringement by others and/or contributing to the infringement by others of the ’752
  4   Patent in the State of California, in this judicial District, and elsewhere in the United
  5   States, by, among other things, making, using, offering for sale, and/or selling, without
  6   license or authority, products affixed with QR codes that require the accused
  7   technology for intended functionality, testing, configuration, troubleshooting, and other
  8   utilization. End users include, for example, customers, customers’ customers, retail
  9   store personnel, and other third-parties.
 10          19.   Defendant took active steps to induce infringement, such as advertising an
 11   infringing use, which supports a finding of an intention. See Metro-Goldwyn-Mayer
 12   Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may be presumed from
 13   distribution of an article in commerce that the distributor intended the article to be used
 14   to infringe another's patent, and so may justly be held liable for that infringement").
 15          20.   The allegations herein support a finding that Defendant induced
 16   infringement of the ’752 Patent. See Power Integrations v. Fairchild Semiconductor,
 17   843 F.3d 1315, 1335 (Fed. Cir. 2016)(“[W]e have affirmed induced infringement
 18   verdicts based on circumstantial evidence of inducement [e.g., advertisements, user
 19   manuals] directed to a class of direct infringers [e.g., customers, end users] without
 20   requiring hard proof that any individual third-party direct infringer was actually
 21   persuaded to infringe by that material.”).
 22          Contributory Infringement
 23          21.   On information and belief, Defendant contributorily infringes on
 24   Symbology’s ’752 Patent. Defendant knew or should have known, at the very least with
 25   the filing of this complaint as a result of its freedom to operate analyses, that third
 26   parties, such as its customers, would infringe the ’752 Patent by implementing
 27   Defendant’s QR code technology.
 28          22.   On information and belief, Defendant’s implementation of the accused
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  1   functionality has no substantial non-infringing uses. See, e.g., Lucent Techs., Inc. v.
  2   Gateway, Inc., 580 F.3d 1301, 1321 (Fed. Cir. 2009) (holding that the “substantial non-
  3   infringing use” element of a contributory infringement claim applies to an infringing
  4   feature or component, and that an “infringing feature” of a product does not escape
  5   liability simply because the product as a whole has other non-infringing uses).
  6            Willful Infringement
  7            23.   On information and belief, the infringement of the ’752 Patent by
  8   Defendant has been and continues to be willful. Defendant has had actual knowledge
  9   of Symbology’s rights in the ’752 Patent and details of Defendant’s infringement based
 10   on at least the filing and service of this complaint. Additionally, Defendant had
 11   knowledge of the ’752 Patent and its infringement in the course of Defendant’s due
 12   diligence and freedom to operate analyses.
 13            Plaintiff Suffered Damages
 14            24.   Defendant’s acts of infringement of the ’752 Patent have caused damage
 15   to Symbology, and Symbology is entitled to recover from Defendant the damages
 16   sustained as a result of Defendant’s wrongful acts in an amount subject to proof at trial
 17   pursuant to 35 U.S.C. § 271. Defendant’s infringement of Symbology’s exclusive
 18   rights under the ’752 Patent will continue to damage Symbology causing it irreparable
 19   harm for which there is no adequate remedy at law, warranting an injunction from the
 20   Court.
 21                                   REQUEST FOR RELIEF
 22            25.   Symbology incorporates each of the allegations in the paragraphs above
 23   and respectfully asks the Court to:
 24            (a)   enter a judgment that Defendant has directly infringed, contributorily
 25            infringed, and/or induced infringement of one or more claims of each of the ’752
 26            Patent;
 27            (b)   enter a judgment awarding Symbology all damages adequate to
 28            compensate it for Defendant’s infringement of, direct or contributory, or
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  1         inducement to infringe, the including all pre-judgment and post-judgment
  2         interest at the maximum rate permitted by law;
  3         (c)   enter a judgment awarding treble damages pursuant to 35 U.S.C. § 284 for
  4         Defendant’s willful infringement of the ’752 Patent
  5         (d)   issue a preliminary injunction and thereafter a permanent injunction
  6         enjoining and restraining Defendant, its directors, officers, agents, servants,
  7         employees, and those acting in privity or in concert with them, and their
  8         subsidiaries, divisions, successors, and assigns, from further acts of
  9         infringement, contributory infringement, or inducement of infringement of the
 10         ’752 Patent;
 11         (e)   enter a judgment requiring Defendant to pay the costs of this action,
 12         including all disbursements, and attorneys’ fees as provided by 35 U.S.C. § 285,
 13         together with prejudgment interest; and
 14         (f)   award Symbology all other relief that the Court may deem just and proper.
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 16   Dated: January 13, 2020           Respectfully submitted,
 17                                     /s/ Kirk J. Anderson
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 24                                     Innovations, LLC
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